 Case 2:22-cv-07541-GW-MRW Document 133-1 Filed 01/11/23 Page 1 of 1 Page ID #:191
                                                  United States District Court
                                                     Central District of California               Cristina M. Squieri Bullock
                                                       Office of the Clerk                        Chief Deputy of Administration
                                                                                                  350 West 1st Street, Suite 4311
                                                                                                      Los Angeles, CA 90012

                   Kiry K. Gray                                                                         Sara Tse Soo Hoo
      District Court Executive / Clerk of Court                                                     Chief Deputy of Operations
           350 West 1st Street, Suite 4311                                                      255 East Temple Street, Suite TS-134
               Los Angeles, CA 90012                                                                  Los Angeles, CA 90012

                                                            January 18, 2023

To :       Clerk, United States District Court
           Eastern                      District of Texas
           100 East Houston Street Room 125
           Marshall, Texas 75670

Re:     Transfer of our Civil Case No. 2:22-cv-07541-GW-MRW
        Case Title: Stingray IP Solutions, LLC v. TP-Link Technologies Co., Ltd. et al

                MDL                                     In Re:

                Capital Habeas Corpus Petition

Dear Sir/Madam:

An order having been made             transferring ✔ remanding the above-listed case to your district, we are transmitting
herewith our file:

        Original case file documents are enclosed in paper format.

 ✔      Electronic documents are accessible through PACER.
        Other:


                                                                  Very truly yours,

                                                                  Clerk, U.S. District Court

Date: January 18, 2023                                            By alison_bandek@cacd.uscourts.gov
                                                                     Deputy Clerk
cc:      All counsel of record
         (and, if a Capital Habeas Corpus case: the California Attorney General)

                                     TO BE COMPLETED BY RECEIVING DISTRICT

Please acknowledge receipt via e-mail to the address indicated below and provide the case number assigned in
your district:
                                ✔ CivilIntakecourtdocs-LA@cacd.uscourts.gov (Los Angeles Office)
                                G
                                G CivilIntakecourtdocs-RS@cacd.uscourts.gov (Riverside Office)
                                G CivilIntakecourtdocs-SA@cacd.uscourts.gov (Santa Ana Office)

Case Number:
                                                                  Clerk, U.S. District Court

Date:                                                             By
                                                                       Deputy Clerk

CV-22 (08/18)                         TRANSMITTAL LETTER - CIVIL OR MDL CASE TRANSFER OUT
